Case 3:14-cv-01165-FLW-TJB Document 203 Filed 03/08/19 Page 1 of 3 PageID: 15346



                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


 In re BLACKROCK MUTUAL FUNDS                    Civil Action No. 3:14-cv-01165-FLW-TJB
 ADVISORY FEE LITIGATION




                                      NOTICE OF APPEAL

         Notice is hereby given that Plaintiffs Owen Clancy, Cindy Tarchis and Brendan Foote, on

 behalf of the BlackRock Global Allocation Fund and the BlackRock Equity Dividend Fund,

 appeal to the United States Court of Appeals for the Third Circuit from:

         (1) that portion of the June 13, 2018 Opinion and Order (Dkt. Nos. 147, 148) of the

 United States District Court, District of New Jersey, which (a) granted partial summary judgment

 in favor of Defendants and against Plaintiffs on the issue of the Board approval process (Opinion

 (Dkt. No. 147) at 30-42, 79), and (b) limited Plaintiffs to a “comparative theory of profitability”

 at trial (id. at 73-79); and

         (2) the February 8, 2019 Bench Memorandum and Order (Dkt. Nos. 198, 199) entering

 final judgment in favor of Defendants and against Plaintiffs.

 Dated: March 8, 2019                              By: /s/ Arnold C. Lakind

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Case 3:14-cv-01165-FLW-TJB Document 203 Filed 03/08/19 Page 2 of 3 PageID: 15347



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                                       2
Case 3:14-cv-01165-FLW-TJB Document 203 Filed 03/08/19 Page 3 of 3 PageID: 15348



                                 CERTIFICATE OF SERVICE

        This is to certify that on March 8, 2019, the within Notice of Appeal was filed with the

 Clerk of the United States District Court for the District of New Jersey using the CM/ECF

 system, which will automatically provide notice to all counsel of record.



                                                      /s/ Arnold C. Lakind




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